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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ABDUL MOHAMMED,

              Plaintiff,

       v.                                          No. 21-cv-3261

UBER TECHNOLOGIES, INC., et al.,                   Honorable Sharon Johnson Coleman

              Defendants.


                                   NOTICE OF MOTION

       PLEASE TAKE NOTICE THAT, on November 19, 2021, at 9:15 a.m., or at such time

thereafter as counsel may be heard, we shall appear before the Honorable Sharon Johnson

Coleman, or any judge sitting in her stead, in Courtroom 1241, 219 S. Dearborn Street, Chicago,

IL 60604, and then and there present the Jenner Defendants’ Joint Motion to Dismiss.

Dated: November 12, 2021                    Respectfully submitted,

                                        By: /s/ David M. Greenwald

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                                 CERTIFICATE OF SERVICE

       David M. Greenwald, an attorney, hereby certifies that on November 12, 2021, he caused
a copy of Jenner Defendants’ Notice of Motion to be electronically filed with the Clerk of the
U.S. District Court, Northern District of Illinois, using the CM/ECF (electronic case filing) system,
which sent notification via electronic mail of such filing to all ECF participants of record,
including:

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